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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                          :           Criminal No. 3:19-cr-105 (AWT)
                                                  :
               v.                                 :
                                                  :
JOEL C. RILEY                                     :           January 17, 2020

                    UNITED STATES’S SENTENCING MEMORANDUM

       The Government respectfully submits this memorandum in response to the sentencing

memorandum of the defendant, Joel C. Riley. From approximately April 2015 to July 2016, Mr.

Riley engaged in a scheme to defraud several financial institutions by fraudulently obtaining loans

and lines of credit in the name of his then-wife, without her authorization, causing a loss to the

financial institutions of over $200,000. As part of the scheme, he then sought to fraudulently

discharge the debt in bankruptcy court so he would not have to pay it back. He recruited a prostitute

to impersonate his wife and caused a bankruptcy attorney to file a false bankruptcy petition in the

wife’s name in United States Bankruptcy Court without the wife’s knowledge or permission. Mr.

Riley’s actions defrauded the financial institutions, the bankruptcy attorney, and the bankruptcy

court. His actions also defrauded his wife, ruined her credit history, and wrecked havoc on her life.

       This was not the first time Mr. Riley engaged in such fraudulent behavior. For more than

a decade, in at least nineteen separate instances, Mr. Riley obtained and/or attempted to obtain

loans from financial institutions using the identities of family members without their knowledge

or permission, causing losses to financial institutions and ruining the credit history of his family

members. In short, Mr. Riley is a serial fraudster who engages in identity theft for his own personal

gain without regard to the consequences to others. In light of the above, the Government

respectfully requests that the Court impose a Guidelines sentence of imprisonment between 24 to

30 months, followed by the maximum term of supervised release.
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I.     FACTUAL BACKGROUND

       The Government agrees with the offense conduct set forth in the Pre-Sentence Report

(“PSR”). PSR ¶¶ 5-39. In short, from approximately April 2015 to July 2016, Mr. Riley engaged

in a scheme to defraud several financial institutions of money. Id. He fraudulently applied for and

obtained loans in the name of his then-wife (“Individual-A”), without her knowledge or

permission. PSR ¶¶ 6-7. By December 2016, the outstanding debt on those loans was

approximately $211,142, and Mr. Riley did not have the intent or the ability to repay the debt. PSR

¶¶ 7-8. Later that month, as part of the scheme, Mr. Riley visited a bankruptcy attorney and sought

to file a federal bankruptcy petition in his wife’s name in order to fraudulently discharge the debt.

PSR ¶¶ 9-11. Mr. Riley presented the attorney with a forged “Durable Power of Attorney”

document that appointed Mr. Riley as agent and attorney-in-fact for his wife. PSR ¶¶ 11. The

document was purportedly signed by his wife. Id. However, as law enforcement later learned, the

document was a forgery. His wife never signed the power of attorney, and the signature on the

document was not hers. Id.

       Over the next few months, Mr. Riley continued his scheme to fraudulently discharge the

outstanding debt. PSR ¶¶ 12-21. Using a fake email address in his wife’s name, Mr. Riley

impersonated his wife in communications with the bankruptcy attorney in order to create the

illusion that his wife was fully aware of the bankruptcy filing. PSR ¶¶ 15-16. Eventually, when

the time came to sign the bankruptcy petition in June 2017, Mr. Riley recruited a prostitute to

impersonate his wife. PSR ¶¶ 18-21. Mr. Riley took his wife’s driver’s license, without permission,

and gave it to the prostitute to use as identification. PSR ¶ 19. On June 6, 2017, Mr. Riley and the

prostitute visited the bankruptcy attorney, where she presented the driver’s license as

identification. Id. Mr. Riley then had the prostitute sign the bankruptcy petition in his wife’s name,




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which the attorney then filed in United States Bankruptcy Court for the District of Connecticut

(the “Bankruptcy Court”) in order to fraudulently discharge the debt that Mr. Riley had illicitly

obtained in his wife’s name. PSR ¶¶ 20-21.

II.    PROCEDURAL HISTORY AND SENTENCING GUIDELINES

       On May 7, 2018, Mr. Riley was arrested on a criminal complaint charging him with

bankruptcy fraud and identity theft. See ECF Nos. 1, 12. On April 17, 2019, Mr. Riley waived

indictment and entered a plea of guilty to a one-count Information charging him with bankruptcy

fraud, in violation of 18 U.S.C. § 157. PSR ¶ 1. He faces a maximum penalty of five years of

imprisonment, three years of supervised release, a fine of up to $250,000, and a $100 mandatory

special assessment. PSR ¶¶ 94, 97, 101-102. He must also pay restitution to the victims of his

offense. PSR ¶¶ 40, 105.

       As part of his plea agreement, Mr. Riley agreed to the additional Special Conditions of

Supervised Release outlined in the rider to the plea agreement, which are consistent with the

recommended conditions in the PSR. See Plea Agreement at 2, 12-13; PSR ¶ 113. He also agreed

to pay restitution to the victim financial institutions that suffered losses from his conduct in the

total amount of $211,142. See Plea Agreement at 3; PSR ¶¶ 3, 40.

       The PSR calculated Mr. Riley’s offense level under the Federal Sentencing Guidelines as

follows. The PSR determined the base offense level under U.S.S.G. §§ 2X5.1 and 2B1.1(a)(2) to

be six. PSR ¶ 44. Ten levels were added pursuant to U.S.S.G. § 2B1.1(b)(1)(F) to reflect losses

between $150,000 and $250,000. PSR ¶ 45. Two levels were added pursuant to U.S.S.G. §

2B1.1(b)(9)(B) because the offense involved a misrepresentation during the course of a bankruptcy

proceeding. PSR ¶ 46. Two more levels were added pursuant to U.S.S.G. § 2B1.1(b)(11)(C)(i)

because the offense involved the use of Individual-A’s means of identification, specifically her




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name and personal information, without her authorization to obtain bank loans in her name. PSR

¶ 47. Three levels are subtracted under U.S.S.G. § 3E1.1 for acceptance of responsibility, 1 resulting

in a total offense level of 17. PSR ¶¶ 53-55.

        The PSR determined that Mr. Riley has no criminal history, which places him in Criminal

History Category I. PSR ¶¶ 57-62. As a result, the PSR concluded that Mr. Riley faces a

Guidelines range of 24 to 30 months of imprisonment, a term of supervised release of one to three

years, and a fine of $10,000 to $95,000. PSR ¶¶ 95, 98, 103. Although Mr. Riley is statutorily

eligible for probation, he is ineligible for probation under the Sentencing Guidelines because the

applicable Guidelines range is in Zone D of the Sentencing Table. PSR ¶ 100 (citing U.S.S.G.

§ 5B1.1).

        The Government agrees with the Guidelines calculation in the PSR, which is the same

calculation that the parties agreed to in the Plea Agreement. The Government also has no

objections to the PSR.

IV.     DISCUSSION OF SENTENCING AND 3553(a) FACTORS

        The Government respectfully requests that the Court impose a Guidelines sentence of

imprisonment, followed by a three-year term of supervised release. Such a sentence would reflect

the seriousness of the offense, promote respect for the law, and provide just punishment for the

offense, while also affording adequate specific and general deterrence to future criminal conduct.

        In this case, Mr. Riley’s offense was a serious one. He participated in a scheme that

defrauded several financial institutions out of approximately $211,000. In order to carry out his

scheme, he stole his then-wife’s identity and obtained loans in her name, without her knowledge


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   At sentencing, because Mr. Riley has assisted authorities by timely notifying the Government of his intention to
plead guilty, the Government intends to make a motion that the Court award the third point for acceptance of
responsibility under U.S.S.G. § 3E1.1(b).



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or permission. He then lied to a bankruptcy attorney and recruited another woman to impersonate

his wife in order to fraudulently discharge the debt.

       This type of fraud—which is part of the category of fraud referred to in the banking industry

as “new account fraud”—is a widespread and fast-growing problem, and is increasing at an

alarming rate. See Ex. A (article from American Banker website); Ex. B (article from

Bankrate.com website). According to websites covering the banking industry, new account fraud

rose from just under $3 billion in 2015 to $3.4 billion in 2018, with loan fraud more than doubling

from 2017 to 2018. See Ex. A; Ex. B. The losses from such schemes is likely passed on to

consumers in the form of increased banking fees and costs. Mr. Riley’s conduct in this case added

to this serious and rampant problem.

       Not only did Mr. Riley’s scheme defraud several financial institutions out of money, he

also committed a fraud on the United States Bankruptcy Court.              Such blatant dishonesty

jeopardizes the integrity of the bankruptcy process. See United States v. Hale, 762 F.3d 1214,

1222 (10th Cir. 2014) (“The success of our bankruptcy laws requires a debtor’s full and honest

disclosure.” (quoting Burnes v. Pemco Aeroplex, Inc., 291 F.3d 1282, 1288 (11th Cir. 2002));

Payne v. Wood, 775 F.2d 202, 205 (7th Cir.1985) (“The operation of the bankruptcy system

depends on honest reporting.”); In re Mascolo, 505 F.2d 274, 278 (1st Cir. 1974) (“The successful

functioning of the bankruptcy act hinges both upon the bankrupt’s veracity and his willingness to

make a full disclosure.”). As one Court of Appeals has observed, “[t]he implicit bargain for

discharge is simple: candid, good faith disclosure of the debtor’s financial affairs in return for the

freedom of a clean slate.” Robinson v. Worley, 849 F.3d 577, 583 (4th Cir. 2017) (citation omitted).

“The goal is to spare trustees and creditors from having to undertake time-consuming

investigations” into the debtor’s financial affairs. Id.




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        Deceiving the Bankruptcy Court, as Mr. Riley did here, strikes at the very core of what

makes filing for bankruptcy such an easy process for those who are in legitimate need of a

discharge: reliance on a filer’s honesty. See Marrama v. Citizens Bank of Massachusetts, 549 U.S.

365, 367 (2007) (“the principal purpose of the Bankruptcy Code is to grant a fresh start to the

honest but unfortunate debtor.” (internal quotation and citation omitted)); In re Lowery, 398 B.R.

512, 515 (Bankr. E.D.N.Y. 2008) (“Full and honest disclosure in a bankruptcy case is crucial to

the effective functioning of the bankruptcy system. Because the bankruptcy court, trustees, and

creditors rely on the information disclosed by a debtor, the importance of full disclosure cannot be

overemphasized.” (citations omitted)).

        Finally, and perhaps most significantly, fraudulent schemes based on identity theft, such

as Mr. Riley’s scheme here, have serious repercussions on the individuals whose identities are

stolen and used for fraudulent purposes. As Individual-A explained in her letter to the Court, Mr.

Riley’s conduct “wrecked havoc in [her] life” and she had to undertake an “exponential amount of

work ‘cleaning up the mess.’” See Def.’s Sentencing Mem., Ex. B (letter from Individual-A). The

loans that Mr. Riley fraudulently obtained showed up on her credit history as delinquent loans and

ruined her credit. Individual-A was later sued in Connecticut Superior Court by one of the lenders

to collect on the debt. PSR ¶ 25. Fortunately, through an attorney, she was able to get the case

dismissed after explaining to them what Mr. Riley had done. Nevertheless, she had to undertake

that effort to get the case dismissed, and in the end, even though Individual-A was not ultimately

held liable, the financial institution still suffered a loss.

        The false bankruptcy petition also had the potential to ruin Individual-A’s credit even more.

See In re T.H., 529 B.R. 112, 138 (Bankr. E.D. Va. 2015) (“the filing of a bankruptcy petition can

detrimentally affect a debtor’s credit history and ability to obtain credit well after the filing of a




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bankruptcy petition”); In re Meltzer, 516 B.R. 504, 519 (Bankr. N.D. Ill. 2014) (“a bankruptcy on

a credit report can negatively affect a person’s credit score, limiting his ability to obtain credit,

insurance, and employment”). Individual-A fortunately discovered the fraud and had the

bankruptcy case dismissed.

       In addition to the seriousness of Mr. Riley’s conduct, the Court should consider deterrence

and the need to promote respect for the law. In this case, there is a significant need for specific

deterrence. In Mr. Riley’s sentencing memorandum, he argues that he is a first-time offender and

that he will not re-offend. Respectfully, the Government submits that Mr. Riley is not a first-time

offender. Although the instant case is the first time that Mr. Riley has been charged and convicted

of an offense, this was not the first time he engaged in fraudulent conduct. As noted in the PSR,

Mr. Riley has a history of using the identities of other people to fraudulently obtain or attempt to

obtain loans in their names. Several years ago, he fraudulently obtained a loan in the name of

another family member (“Individual-B”), and the bank had to discharge the debt and suffered a

loss. PSR ¶ 38. He also obtained five lines of credit in the name of a third family member

(“Individual-C”). Although he later promised to pay off those debts, he did not, and Individual-C

was forced to file for bankruptcy. PSR ¶ 39. Like the impact on Individual-A, the impact on

Individual-C was significant. As she writes in her letter, “she was forced into bankruptcy and it

took her ears to rebuild her credit.” See Def.’s Sentencing Mem., Ex. C (letter from Individual-C).

       Since then, Mr. Riley has continued to attempt to obtain loans—approximately 13 loans

(in addition to the 7 loans that are part of the instant scheme)—from financial institutions using

the identities of family members without their knowledge or permission, including several

additional loans in the name of Individual-A, Individual-B, and Individual-C. See PSR ¶¶ 26-36.

Mr. Riley fabricated pay stubs to make it appear that Individual-B was employed. PSR ¶ 30. And




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the Government has recently learned that in one of the loans applications for Individual-A, he

created a paystub showing she was employed at the University of New Haven, when, in fact, she

never worked there.

       In addition to these fraudulent loans, Mr. Riley appears to have preyed on others for

financial gain. After Mr. Riley’s divorce from Individual-A, he began dating another woman

(“Individual-D”) for six months. See PSR ¶ 73a; Ex. C (letter to the Court from Individual-D). She

is a kindergarten teacher and a single mother of three children. Id. In the six months they dated, he

convinced her to loan him over $40,000. Id. Although he promised to pay her back, he never paid

a dime. Id. In her letter to the Court, she describes the tremendous financial and emotional toll he

caused her. She has been unable to pay her son’s college tuition without taking out additional

loans. Id. She describes Mr. Riley as “a narcissist” and a “true con,” and she even caught him

searching for his “next victim” while they were still dating. Id.

       What makes all of his past and present conduct more troubling is that his victims include

those that trust and love him the most: his family. Mr. Riley betrays their trust with utter disregard

for the financial devastation his actions can, and, in fact, have caused them.

       In Mr. Riley’s sentencing memorandum, he claims “there is no risk of Mr. Riley re-

offending.” Def.’s Sentencing Mem. at 15. In light of his history, however, the Government does

not share his optimism.      The Government believes there is a significant need for specific

deterrence.

       Finally, there also is a need for general deterrence and promoting respect for the law in

order to address the growing problem of consumer credit fraud and identity theft, which, as

discussed, results in billions of dollars in losses each year. The Court’s sentence should send a




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message that financial schemes such as the one Mr. Riley perpetrated, bankruptcy fraud, and more

importantly, committing a fraud upon the courts, will not be tolerated.

       The Government recognizes that neither Individual-A nor Individual-C believe Mr. Riley

should go to jail, even though they are victims of his past and present conduct. With respect to

Individual-A, she explains the impact his incarceration will have on their children, both

emotionally and financially, as they share legal custody of the children and he pays alimony and

child support. However, Mr. Riley’s family circumstances do not warrant special consideration in

determining his sentence. Section 5H1.6 of the Sentencing Guidelines states that family ties and

responsibilities and community ties are ordinarily not relevant in determining whether a sentence

should be outside the applicable guideline range. Thus, it is only in the extraordinary case that a

defendant’s family circumstances will warrant consideration. As the Second Circuit noted in

United States v. Johnson, 964 F.2d 124, 128 (1992), “[t]he Sentencing Commission understood

that many defendants shoulder responsibilities to their families[.]” See also United States v. Webb,

49 F.3d 636, 638-39 (10th Cir. 1995) (defendant, who was sole caretaker of son, not deemed to

have extraordinary family circumstances); United States v. Brown, 29 F.3d 953 (5th Cir. 1994)

(single mother of two young children, who could stay with great grandmother, not deemed to have

extraordinary family circumstances). “Disruption of the defendant’s life, and the concomitant

difficulties for those who depend on the defendant, are inherent in the punishment of

incarceration.” Johnson, 964 F.2d at 128. The disruption of parental relationships is to be expected

when a parent engages in criminal activity. See United States v. Canoy, 38 F.3d 893, 907 (7th Cir.

1994) (citing numerous cases); United States v. Cacho, 951 F.2d 308, 311 (11th Cir. 1992) (noting

that innumerable defendants could no doubt argue that imposition of a prison sentence would harm

family relationships).




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         In this case, Mr. Riley’s responsibilities for his children are not extraordinary or

exceptional. While Individual-A relies on him for alimony and child support, she has a college

education and is capable of working. The Government understands and respects Individual-A’s

position, but there are other victims that need to be considered, including the financial institutions

that suffered a loss, and there is a need for specific and general deterrence, and the need to promote

respect for the law.

         In short, Mr. Riley is a financial predator who preys on those around him—betraying their

love and trust—for his own financial benefit with no regard whatsoever to the devastating impact

his conduct has on others. For all of these reasons, the Government does not believe a probation is

warranted. A sentence of imprisonment is necessary in light of the 3553(a) factors addressed

above.

         Accordingly, the Government respectfully requests that the Court impose a Guidelines

sentence of imprisonment followed by a three-year term of supervised release to include the strict

conditions agreed upon in the plea agreement and recommended in the PSR. The Government also

asks the Court to order Mr. Riley to pay restitution to the victim financial institutions in the total

amount of $211,142.




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VI.    CONCLUSION

       For the reasons stated above, the Government respectfully asks the Court to impose a

Guidelines sentence of imprisonment between 24 and 30 months, followed by a three-year term of

supervised release, and an order of restitution for $211,142.



                                              Respectfully submitted,

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                                              /s/ Neeraj N. Patel

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 20, 2020, a copy of the foregoing Sentencing Memorandum
was filed electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system
or by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.


                                               /s/ Neeraj N. Patel
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                                               Assistant United States Attorney




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